Case 2:19-cv-00382-JHR Document 163 Filed 11/16/21 Page 1 of 2                    PageID #: 1377




                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE


FEDEQ DV004 LLC, et al.,                      )
                                              )
       Plaintiffs,                            )
                                              )       Civil Docket No. 2:19-cv-00382-JHR
v.                                            )
                                              )
CITY OF PORTLAND, et al.,                     )
                                              )
                                              )
       Defendants.                            )




                                STIPULATION OF DISMISSAL

       On January 22, 2021 the claims against Jon Jennings were dismissed with prejudice in

the above-captioned matter; pursuant to the provisions of Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, the parties hereby stipulate, through their undersigned counsel, to the

dismissal of all remaining claims and counterclaims in the above-captioned matter without

prejudice, and in all cases without costs to any party.




DATED: 11/16/2021                             /s/Tyler Smith_________________
                                              Gene R. Libby, Esq. (Bar No. 427)
                                              Tyler J. Smith, Esq. (Bar No. 4526)
                                              Keith P. Richard, Esq. (Bar No. 5556)
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Case 2:19-cv-00382-JHR Document 163 Filed 11/16/21 Page 2 of 2                 PageID #: 1378




DATED: November 16, 2021                   NORMAN, HANSON & DeTROY, LLC

                                           /s/ Russell B. Pierce, Jr.
                                           Russell B. Pierce, Jr., Esq.
                                           David A. Goldman, Esq.
                                           James D. Poliquin, Esq.
                                           Jonathan W. Brogan, Esq.

                                           Attorneys for Defendants
                                           City of Portland and Jon Jennings

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2021, I electronically filed the STIPULATION

OF DISMISSAL with the Clerk of Court using the CM/ECF system which will send notification

of such filing to all counsel of record.

                                           _/s/Tyler Smith_____
                                           Gene R. Libby, Esq. (Bar No. 427)
                                           Tyler J. Smith, Esq. (Bar No. 4526)
                                           Keith P. Richard, Esq. (Bar No. 5556)
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